                                          Dr. Weiss’s Opinions


              Adverse event reports cannot reliably be used to establish a
              causal relationship between gabapentin and suicide
              The FDA’s AERS database does not support the finding of a
              signal for completed suicide or suicide attempt
              Dr. Blume’s methodology for reviewing AERS data is flawed
              and not generally accepted
              The information in the AERS database for gabapentin and
              suicide is unreliable and therefore uninterpretable


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                                     Sample MedWatch Form




                                                             Submission of a report does
                                                             not constitute an admission
                                                             that medical personnel or
                                                             the product caused or
                                                             contributed to the event.



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            Data Mining Cannot Establish Causation
                                                                                          March 2005




                                                            Data mining is not a tool for
                                                            establishing causal attributions
                                                            between products and adverse
                                                            events.
                                                                            Source: March 2005 FDA Guidance for Industry: Good Pharmacovigilance
                                                                                           Practices and Pharmacoepidemiologic Assessment, Pg. 8




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                                Clinical Judgment Necessary
                                 For Review of Data Mining
                                                                                  March 2005




                                                            Proper interpretation also
                                                            requires clinical judgment
                                                            before one even considers there
                                                            to be a signal.
                                                                                                          Source: Brian L. Strom, M.D., MPH,
                                                                                    Reply to Letter to the Editor, 293 JAMA (2005), Pg. 1325




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    Gabapentin Spontaneous Reports Over Time

                                                                                                                  5,212
                                                                                                                          4,770


                                                                                                          3,843
       Cases (n)




                                                                                                  2,896
                                                                                          2,460
                                                                                                                                  2,294
                                                                  2,050           2,135

                                                                          1,575


                                       748    783    803
                                                            607
                                352




                                                                          Report Year
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                                                                                                Source: Weiss Expert Report, Figure 1

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                                                     Neurontin/Gabapentin
                                                     Prescriptions Over Time
                                  18M
                                                      Total Market
                                   16                 Gabapentin
                                                      Neurontin
                                   14

                                   12
            Total Prescriptions




                                   10

                                    8

                                    6

                                    4

                                    2

                                    0

                                                                                              Year
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                                                                                                              Source: Weiss Expert Report, Figure 2

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                                                Gabapentin Reports as a
                                            Percentage of Total Prescriptions
                                        0.16%

                                         0.14

                                         0.12
            Reports/Prescriptions (%)




                                         0.10

                                         0.08

                                         0.06

                                         0.04

                                         0.02

                                         0.00

                                                                                              Report Year
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                                                                                                                     Source: Weiss Expert Report, Figure 3

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                                          Gabapentin Reports Decrease
                                            As Prescriptions Increase
                           18M                                                                                           0.16%
                                                             Total Market
                            16                               Reports/Prescriptions                                       0.14
                            14                                                                                           0.12




                                                                                                                                Reports/Prescriptions (%)
                            12
     Total Prescriptions




                                                                                                                         0.10
                            10
                                                                                                                         0.08
                             8
                                                                                                                         0.06
                             6
                                                                                                                         0.04
                             4

                             2                                                                                           0.02

                             0                                                                                           0.00

                                                                             Year
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                              Proportion of Reports
                        In Which Gabapentin ‘Was Suspect’
                      100%
                             92.3%
                        90            85.0%

                        80
                                              70.1%
                        70
     Percentage (%)




                        60
                        50                                          43.4%
                                                                                            37.8%                   37.8%
                        40                            34.6% 33.3%                                   34.4%                   35.9% 37.1%
                                                                                    30.9%                   32.6%
                        30                                                  25.1%

                        20
                        10
                         0

                                                                            Report Year
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                                                                                                   Source: Weiss Expert Report, Figure 4

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                Gabapentin Reports by Report Type –
                             By Year

                                    Direct                                                        Publicity Bias
                                    Expedited
                                    Periodic
     Reports




                                                                    Report Year
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                                                                                             Source: Weiss Expert Report, Figure 6

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                  Gabapentin Reports by Report Type –
                              By Quarter

                                                                                                          Publicity Bias
                               Death
                               Hospitalization – Initial or Prolonged
                               Life-Threatening
    Reports (n)




                     Q1
                     Q2
                     Q3
                     Q4
                     Q1
                     Q2
                     Q1
                     Q2
                     Q3
                     Q4
                     Q1


                     Q4

                     Q2
                     Q3
                     Q4
                     Q1
                     Q2
                     Q3
                     Q4




                     Q1




                     Q3
                     Q2
                     Q3




                     Q1
                     Q2
                     Q3
                     Q4
                     Q1
                     Q2
                     Q3
                     Q4

                     Q2
                     Q3
                     Q4
                     Q1
                     Q2
                     Q3
                     Q4
                     Q1
                     Q2

                     Q4
                     Q1
                     Q2
                     Q3
                     Q4
                     Q2
                     Q1
                     Q2
                     Q3
                     Q4
                     Q1

                     Q3
                     Q4




                     Q1




                       1994    1995     1996      1997     1998     1999      2000   2001   2002   2003   2004   2005   2006   2007


                                                                           Report Quarter

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                                                                                             Source: Weiss Expert Report, Figure 7

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            PRR for Gabapentin: Completed Suicide
                     And Suicide Attempt

                               Suicide Attempt                                                      Publicity Bias
                               Completed Suicide




                                                              Report Year
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                                                                                             Source: Weiss Expert Report, Figure 9

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       FDA: Controlled Trials Are Only Way to Assess Whether
       Neurontin Is Associated With Increased Risk of Suicide
                                                      April 12, 2005 Letter From FDA to Plaintiff’s Lawyers

                                                         With the letter, you provided 258 MedWatch
                                                         forms of patients whom you state committed
                                                         suicide while being treated with Neurontin,
                                                         and you make several allegations about
                                                         FDA’s handling of this matter.
                                                                              * * *
                                                         We noted at that time that these illnesses
                                                         are well-known to be associated with an
                                                         increased risk of suicide compared to the
                                                         general population. Further, in the absence
                                                         of an appropriate control group, it will be
                                                         difficult, if not impossible, to assess the role
                                                         of any other factors that might explain
                                                         these events, such as concomitant
                                                         medications.
                                                                                           Source: April 12, 2005 Letter from FDA
                                                                                       to Andrew G. Finkelstein (emphasis added)
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                           Gabapentin vs. FDA AED Drugs

                                                                                                            1.68
                                                                                 Publicity Bias                       1.60



                                                                                                   1.26



                                                                                          0.92
       PRR




                                                                                 0.82
                                                     0.77
                                            0.69
                                  0.56                        0.58      0.56




                          0.17




                                                       Report Year (Cumulative)
                          Case 3:05-cv-00444 Document 181-2 Filed 04/27/10 Page 14 Source:
                                                                                    of 15 Weiss
                                                                                           PageID  #: 4384 Expert Report, Figure 1
                                                                                                Supplemental

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                                              Completed Suicide Reports
                                                             Neurontin vs. All Drugs

                                                  All Drugs                                                    Publicity Bias
                                                  Neurontin Only
    Completed Suicide Reports (n)




                                                                            Report
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                                                                                 04/27/10        Source: Weiss Supplemental Expert Report, Figure 3

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